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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CARLA KIRKSEY, et al.,           :    CIVIL ACTION
                                 :    NO. 18-3673
          Plaintiffs,            :
     v.                          :
                                 :
CITY OF CHESTER, et al.,         :
                                 :
          Defendants.            :


                                 ORDER

          AND NOW, this 8th day of November, 2021, after

considering Defendant’s Motion for Summary Judgment (ECF No. 64)

and Plaintiff’s response thereto (ECF No. 85), it is hereby

ORDERED that the motion is GRANTED.



          AND IT IS SO ORDERED.



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                           EDUARDO C. ROBRENO, J.
